HOME NEWS NEWS RELEASES                                                                  BY DPS
                                               DISCOVERS NEARLY 95,000 PEOPLE IDENTIFIED
AG PAXTON: TEXAS SECRETARY OF STATE'S OFFICE
                                       VOTE IN TEXAS
AS NON-U.S. CITIZENS ARE REGISTERED TO

        January 25, 2019 I Voter Fraud


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        retary of State's Office
        Discovers Near-
        ly 95,000 People
                          Iden-
         tifiedby DPS as Non-
         U.S. Citizens are Reg-
         istered to Vote
         in Texas
                                                                                 alier the Secretary
         Attorney (leneral Ken Paxton today issued the following statenient
         of State's of lice discovered that about 95.000 individuals identi
                                                                            lied by the Department

         of' Public Salty as non-U.S. citizens have a matching voter
                                                                        registration record in
                                                                                  elections:
         'lexas. and roughly 5.000 of them have voted in one or more Texas
                                                                                   state and deprives
            Everv single instance 0! illegal voting threatens (teIlmcraCy iii our
                                                                                 with the Texas
          individual Texans of their voice. We'rc honored to have partnered
                                                                               will spare no effort ill
          Secretary of Stale's office in the past on voter initiatives and we
                                                                                    read to
          assisting with these troubling cases. My Election Fraud Unit stands
                                                                                        needed. We
          investigate and prosecute crimes against the democratic process when
                                                                                            including
          have obtained a number of successful non-citizen voter fraud convictions,
          prison stutLnccs for koa OttLg1 in I at rant Counts and I auta (iai
                                                                                  ia in Montgomcr
                                                                                        Marites Curry. a
          County. And earlier this month. investigators from our office arrested
                                                                                     is more vital to
           non-citizen charged with illegal voting in Navarro County. Nothing
                                                                                          my othee vill
           preserving our Constitution than the integrity of our voting process. and
                                                                                      the state ollexas.
           do everything within its abilities to solidih trust in every election in
           I applaud Secretary of State Whillcy for
                                                      his proactive worL in sa Rguarding our
          elections."
                                                 Attachment C
lexas    la\V   al k)\\s      1a        fully present noneilizeus to obtain drivc(s licenses b showing
prool of' lawlul presence to 1)1'S. lowever. ouiy citizens are eligible to vote. And
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Texas law currently does not require veritication ol' a voters statement that the are a
cititen. The Texas Secretary ol State provided the inliwmation to the 0111cc ol' the
Attorney (icnerai this week. which has concurrent jurisdiction to prosecute election
crimes.

1-roni 2005-2() 7. the attorney neneral's ollice
                     I                            prosecued 97 dc!ndaius !r numerous
voter fraud violations, in 2() 8. Attorney General Paxton's l'ieelion Fraud tJnit with
                                              I




assistance hum a criminal justice grant from the governors ollice prosecuted 33
delendants for a total of 97 election Iratid violations. 'aSt lebrtmarV. (lie attorney
                                                                          I


general announced a significant ' oter !i'aud                 mu iati e   and addressed key problems and
Policy areas related               to    election law

1'o   view the Fexas Secretary of State press release, click
here:   https:!   xv"    \\   sus.slale.tx.us about ne\ sreleaes 2(11 9       ()   I   2   I   9.slitml.
